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                                                                                            IN CLcRr<"S OFFICE
                                                                                      U.S. DISTRiCT COURT E.D.N.Y.

                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK
                                                                                      *      OCT 23 2019       *
                                                                                      LONG ISLAND OFFICE


      Commodity Futures Trading Commission,            Civil Action No. 18-cv-2247-SJF-ARL

                            Plaintiff,

                            v.

      Blake Harrison Kantor aka Bill Gordon,
      Nathan Mullins,
      Blue Bit Banc,
      Blue Bit Analytics, Ltd.,
      G. Thomas Client Services, and
      Mercury Cove, Inc.,

                            Defendants,

      and

      Blue Wolf Sales Consultants,

                            Relief Defendant.


                     ORDER FOR FINAL JUDGMENT BY DEFAULT, PERMANENT
        INJUNCTION, CIVIL MONETARY PENALTIES, AND OTHER STATUTORY AND
                               EQUITABLE RELIEF

                                           I. INTRODUCTION

             On April 16, 2018, the Commodity Futures Trading Commission ("Commission,"

      "CFTC" or "Plaintiff') filed a Complaint charging Defendants Blake Harrison Kantor aka Bill

      Gordon ("Kantor"), Nathan Mullins ("Mullins"), Blue Bit Banc ("Blue Bit"), Blue Bit Analytics,

      Ltd. ("Analytics"), G. Thomas Client Services ("G. Thomas") and Mercury Cove, Inc.

      ("Mercury Cove") (collectively "Defendants") with violating Sections 2(e), 4c(b), 4d(a)(l) and

      Section 6(c)(l) of the Commodity Exchange Act ("Act"), 7 u~s.C. §§2(e), 6c(b), 6d(a)(f) and

     9(1) (2012), and Commission Regulations ("Regulations") 32.2, 32.4 and 180. l(a),    17:C.F'.R.
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 §§. 32~2, 32A and l80~1(a) (2017).


        In addition, the Complaint claimed that Relief Defendant, Blue Wolf Sales Consultants

 ("Blue Wolf'), who was not charged with violations of the Act or Regulations, received funds

 and assets from Defendants, to which Relief Defendant held no legitimate interest or entitlement

 and which were derived from Defendants' fraudulent and violative acts.

        On April 19, 2018, Defendant Kantor was properly served with the summons and

 Complaint pursuant to Rule 4(e)(2)(A) of the Federal Rules of Civil Procedure ("Fed. R. Civ.

P.") by personally delivering a copy to Kantor. On April 19, 2018, Defendants Blue Bit,

Analytics and Relief Defendant, Blue Wolf, were properly served with the summons and

 Complaint pursuant to Rule 4(h)(l) of the Fed. R. Civ. P. by personal service upon their officer

and agent, Kantor. On April 20, 2018, Defendant Mullins was properly served with the

summons and Complaint pursuant to Rule 4(e)(2)(A) of the Fed. R. Civ. P. by personally

delivering a copy to Mullins. On April 20, 2018, Defendant Mercury Cove was properly served

with the summons and Complaint pursuant to Rule 4(h)(l) of the Fed. R Civ. P. by personal
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service upon its officer and agent, Mullins. On April 20, 2018, Defendant G. Thomas was

 properly served with the summons and Complaint pursuant to Rule 4(h)(l) of the Fed. R. Civ. P.

by personal service upon its officer and agent, Glenn Olson, through his attorney, Michael

Nedick, Esq., who agreed to accept service for G. Thomas.

        On April 17, 2018, the Court entered a Statutory Restraining order and on May 2, 2018 it

 entered a Preliminary Injunction against Defendants and Relief Defendant that, among other

things, authorized the freezing of assets held in the name of, or under the control or management

of, the Defendants and/or Relief Defendant.




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         Defendants and Relief Defendant have failed to appear or answer the Complaint within

 the time permitted by Fed. R.:Civ. P.J2(a)(l). Accordingly, the Commission filed motions for

 entry of a clerk's default against Defendants and Relief Defendant and on June 13, 2019, the

 Clerk of this Court entered a default against Defendants and Relief Defendant.

         The Commission has moved this Court to grant final judgment by default against

 Defendants, order permanent injunctive relief, and impose a restitution obligation, disgorgement

 obligation and civil monetary penalty. The Commission has further moved this Court to grant

 final judgment by default against Relief Defendant and order disgorgement of ill-gotten funds to

 which it is not entitled.

         The Court has carefully considered the Complaint, the allegations of which are well-

 pleaded and hereby taken as true, the Commission's memorandum in support of its motion, the

 Declarations of Joseph Patrick, the record in this case, and the Court being otherwise advised in

 the premises, it is hereby:

         ORDERED that the Plaintiffs Motion for Final Judgment by Default, Permanent

 Injunction, Civil Monetary Penalties, and Other Statutory and Equitable Relief against

 Defendants and Relief Defendant is GRANTED. Accordingly, the Court enters findings of fact,

 conclusions of law, and an Order of Final Judgment by Default for Permanent Injunction, Civil

 Monetary Penalties, and Other Statutory and Equitable Relief ("Order") pursuant to Sections 6c

 and 6d of the Act, 1l:LS~C.-fl3a.:.J. (2012), as set forth herein.

                                      II. FINDINGS OF FACT

 A.      The Parties

         1.      Plaintiff Commodity Futures Trading Commission is an independent federal

 regulatory agency that is charged by Congress with administering and enforcing the Act,



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 7,U.$~C.-.:§§J+26 (2012), and the Regulations promulgated thereunder, 17 C.F.R. pts. 1-190
 (2018). [Comp. ,I 14]

        2.      Defendant Blake Harrison Kantor is a natural person, 44 years of age, who

 sometimes uses the alias "Bill Gordon" and currently resides in Fort Lee, New Jersey. Kantor

 was registered with the Financial Industry Regulatory Authority ("FINRA") until 2004, when he

 was terminated following a felony conviction. Kantor has never been registered with the

 Commission in any capacity. [Comp. ,I 15]

        3.      Defendant Nathan Mullins is a natural person, 34 years of age and currently

 resides in Astoria, New York. Mullins has never been registered with the Commission in any

 capacity. [Comp. ,I 16]

        4.      Defendant Blue Bit Banc is a business entity that purports to be owned and

 operated by Biz-E-Bee Services, Ltd. in the U.K. Blue Bit's website at www.bluebitbanc.com

 was created on April 28, 2014, and its registrant is "Bill Gordon," and its registrant organization

 is Analytics. Blue Bit has never been registered with the Commission in any capacity. [Comp. ,I

 17]

        5.      Defendant Blue Bit Analytics, Ltd. is a business entity that appears to be located

 in Nevis, Turks and Caicos. However, Analytics had an office location in New York, NY from

 at least July 2015 through January 2017. "Bill Gordon" was the "Managing Director" of

 Analytics. Analytics has never been registered with the Commission in any capacity. [Comp. ,I

 18]

        6.      Defendant G. Thomas Client Services is located in Brooklyn, New York and

 organized on July 28, 2015. G. Thomas has never been registered with the Commission in any

 capacity. [Comp. ,I 20]



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        7.      Defendant Mercury Cove, Inc. is a corporation organized in New York in

 February 2015 and located in Forest Hills, New York. Mullins is the incorporator and sole

 shareholder of Mercury Cove. Mullins submitted documents to open a business banking account

 in the name of Mercury Cove and listed himself as the owner of Mercury Cove. Mercury has

 never been registered with the Commission in any capacity. [Comp. ,i 19]

        8.      Defendants Kantor, Mullins, Blue Bit, Analytics, Mercury and G. Thomas

 operated and functioned as a common enterprise, hereafter referred to as the "Blue Bit

 Enterprise." [ Comp. 1 21]

        Relief Defendant

        9.      Relief Defendant Blue Wolf Sales Consultants is a New York corporation

 incorporated on May 20, 2014. Kantor is the CEO of Blue Wolf. Blue Wolf has never been

 registered with the Commission in any capacity. [Comp. 122]

 B.     Defendants' Illegal Binary Options Business

        10.     In at least April 2014, Blue Bit Banc began offering trading in binary options to

 U.S. retail customers. [Comp. 141]

        11.     Using his alias name Bill Gordon, Kantor launched the website

 www.bluebitbanc.com ("Blue Bit Website"), which is also a registered domain name of

 Analytics. The Blue Bit Website, which was still online as of the filing date of Plaintiffs

 lawsuit, claimed that Blue Bit is "a premier option trading platform" and introduces investors "to

 the exciting world of exotic option trading by creating an exceptional trading environment where

 anyone can trade binary options in a simple, smart way." [Comp. 1 42]

        12.     Kantor consistently used his alias name Bill Gordon in all of his dealings with

 Blue Bit customers and used the Blue Bit Website to solicit investors to trade binary options by

 opening an account at Blue Bit. [Comp. 143]

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         13.    In February 2015, Mullins incorporated Mercury and opened a U.S. bank account

 for Mercury. Mullins used Mercury to funnel payments it received from Analytics to the Blue

 Bit sales staff, to himself and to Kantor, through his company, Blue Wolf. [Comp. 144]

        14.     In July 2015, Kantor, on behalf of Analytics, opened an office in midtown

 Manhattan to provide a venue for the Blue Bit sales staff to market binary options trading

 accounts at Blue Bit. From 2015 through early 2017, at least twenty individuals worked for Blue

 Bit at various times in the Analytics sales office. [Comp. 145]

        15.     G. Thomas was used to funnel payments it received from Analytics to the Blue

 Bit sales staff, and to Kantor, through his company, Blue Wolf. [Comp. 146]

 C.     Defendants Misappropriated Customer Funds

        16.     After convincing a prospective customer to open a Blue Bit trading account,

 Kantor and others acting on behalf of the Blue Bit Enterprise would instruct them how to fund

 their new account. Kantor set up Analytics with an off-shore bank account. Customers typically

 were told to send their funds by wire or credit card to Analytics at its Nevis bank account.

 Defendants received at least $846,405.58 in customer funds, most of which was sent to Analytics

 at its Nevis bank account. [Comp. 147]

        17.     Analytics in turn sent customer funds from its Nevis bank account to Mercury and

 G. Thomas bank accounts in the U.S. Those funds were then distributed to Mullins and the Blue

 Bit sales staff and were used to pay Defendants' business and personal expenses, including,

 among others, salaries and commissions to sales staff. The Mercury and G. Thomas bank

 accounts were used to further disguise how Blue Bit customer funds were being used. [Comp. 1

 48]

        18.     In at least one instance, Kantor, using his alias Bill Gordon, told a customer to

 send the funds which he intended for investment at Blue Bit to the G. Thomas U.S. bank

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 account. Kantor used this customer's $60,000 investment to pay Defendants' business and

 personal expenses. [Comp. 1 49]

        19.     G. Thomas also transferred $60,638.20 to a Blue Wolf U.S. bank account and

 Mercury transferred $28,070.84 to the same Blue Wolf U.S. bank account. Kantor is the sole

 signatory on the Blue Wolf account and used the account as his personal bank account. Blue

 Wolf does not provide any legitimate services to Defendants' customers nor does it have any

 legitimate interest or entitlement to those customer funds. [Comp. 1 50]

        20.     Kantor or individuals acting on behalf of the Blue Bit Enterprise made purported

 binary options trades for the customers or the customers were instructed by Kantor and others

 acting on behalf of the Blue Bit Enterprise on how to enter orders through the Blue Bit online

 order-entry platform on the Blue Bit website. The Defendants then manipulated or fabricated

 purported trades in their customers' accounts to insure that they could be manipulated to the

 customers' disadvantage. In some instances, trading losses continued until the customer's online

 account was nearly depleted. [Comp. ,i 51]

        21.     Some customers with balances reflected in their Blue Bit accounts have been

 unable to withdraw their funds. Kantor told at least one customer that the customer's remaining

 balance was "bonus" money that had been credited to him by Blue Bit and, thus, were not his

 funds to withdraw. At least one other customer has been unable to navigate the withdrawal of

 his money through Blue Bit's online account. [Comp. 152]

        22.    In or around October 2017, as part of an exit strategy, the Defendants began to

 migrate their fraudulent business model away from binary options into a new fraudulent scheme

 in an effort to conceal the Blue Bit fraud. Kantor contacted at least two Blue Bit customers who

 had large account balances and told them that he was getting out of the binary options business.



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 Kantor told these customers that he had selected them because they were among his top 21 Blue

 Bit customers and that he, therefore, recommended that they authorize him to transfer at least

 part of their Blue Bit account balances to another company with which he had recently become

 affiliated. [Comp. 153]

        23.    Kantor said that the new company was called Bitsblockchain and that it offered

customers the chance to purchase its new virtual currency called ATMC, or "ATM Coin" or

"Asset Trading Market Coin." ATMC purported to be a cryptocurrency utilizing open-source

blockchain technology with no government authority controlling it, although it also claimed on

its website, www.bitsblockchain.com, to be a "supranational legal tender currency" for a

purported sovereignty called the "Principality of Saint Stephen." Bitsblockchain offered ATMC

for sale to retail customers via its website. Kantor and others acting on behalf of the Blue Bit

Enterprise also marketed Bitsblockchain' s ATMC to the public, including, for instance, by

adding a link to Bitsblockchain's website on the Blue Bit website. [Comp. 154]

        24.    Kantor told these two customers that he would be able to get them a good deal on

the ATMC virtual currency because he was introducing a group of21 customers to the firm.

Kantor told his customers that they would receive ATMC with a value in U.S. dollars that would

be far more than the U.S. dollars in their Blue Bit account, and told at least one customer that this

arrangement meant that he had gotten a "HUGE deal." Kantor also encouraged these customers

to add additional funds to obtain even more ATMC. [Comp. 155]

        25.    Some customers agreed to move their funds and at least one also sent additional

money to Blue Bit to buy more ATMC. Kantor told them that he transferred their Blue Bit

account balances to Bitsblockchain for ATMC. In doing so, Kantor, knowingly, or at the very

 least, acted recklessly in exchanging his former customers' Blue Bit account balances for the



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 ATMC virtual currency that he knew, or should have known, could not be monetized for

 anything close to the U.S. dollars that he had told his customers would be the case. [Comp. 'jJ 56]

        26.     After the Blue Bit customers were transferred to Bitsblockchain they could no

 longer access their online Blue Bit account statements. However, they were able to access online

 statements at www.bitsblockchain.com. Two customers were told that their Blue Bit account

 balances of approximately $300,000 and $175,000 were transferred to Bitsblockchain. In only a

 few months, customers who had holdings of ATMC saw their account balances increase to

 purported values of more than $2 million. [Comp. ,I 57]

        27.     At least one of these customers then attempted unsuccessfully to withdraw funds

 from his Bitsblockchain account. This customer saw his ATMC account decline from more than

 $2.9 million to $814,381 and had his account "blocked." When he inquired why this had

 happened, a representative of Bitsblockchain told him that it was blocked because his account

 was "in a process of investigation." That customer was never able to withdraw any funds from

 his ATMC account. [Comp. ,i 58 and Patrick Supp. Dec. ,I 13]

    D. Defendants' Fraudulent Solicitations

        28.     The Blue Bit Enterprise defrauded U.S. customers whom they had solicited to

 trade binary options by misrepresenting and omitting material information. The

 misrepresentations made by the Defendants included telling customers that they could withdraw

 their investment funds at any time after their Blue Bit trading had reached a specified volume of

 activity. [Comp. ,I 59]

        29.     The Blue Bit Enterprise also defrauded its customers by claiming it had added

 "bonuses" to their accounts. However, these purported capital additions were a device

 subsequently used by the Blue Bit Enterprise to deny customers' requests to withdraw their

 funds. Among other things, the Blue Bit Enterprise contended that the effect of the added

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 "bonuses" was to increase the required minimum trading volume before customers could make a

 withdrawal. [Comp. 160]

        30.     Blue Bit knew that these representations were false, or at the least, acted

 recklessly in making those representations, in that customers were precluded from withdrawing

 their Blue Bit investment funds despite reaching the original trading volume specified to them

 before these purported bonuses were added. [Comp. ,I 61]

        31.     Blue Bit further defrauded their customers by omitting from their customers'

 online Blue Bit account statements and verbal communications with their customers that their

 funds had been misappropriated. [Comp. ,I 62]

                                      III. Conclusions of Law

 A.     Jurisdiction and Venue

        I.      This Court has jurisdiction over this action pursuant to Section 6c of the Act,

 iz~tts~Or:3tl3'a~i (2012), which provides that whenever it shall appear to the Commission that
 any person has engaged, is engaging, or is about to engage in any act or practice constituting a

 violation of any provision of the Act or any rule, regulation, or order promulgated thereunder, the

 Commission may bring an action in the proper district court of the United States against such

 person to enjoin such act or practice, or to enforce compliance with the Act, or any rule,

 regulation or order thereunder.

        2.      Venue properly lies with this Court pursuant to 7. U:S. C. § -13a~1(e), because the

 Defendants and Relief Defendant reside or transact business in this jurisdiction and the acts and

 practices in violation of the Act and Regulations occurred, are occurring or are about to occur

 within this District, among other places.




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  B.     lliegal Off-Exchange Retail Swaps in Violation of Section 2(e) of the Act

          3.     An eligible contract participant ("ECP") is defined in Section l la(l8)(A)(xi) of

  the Act, fl..U.S'.;0~.-§'.:1a(l8~(AO(xi), in relevant part, as an individual who has amounts invested on

  a discretionary basis, the aggregate of which exceeds $10 million, or $5 million if the individual

  enters into the transaction to manage the risk associated with an asset or liability incurred, or

  reasonably likely to be owned or incurred, by the individual.

         4.      Section 2(e) of the Act, 7 U.S~C~-§-2(e)(2012), makes it unlawful for any person

  who is not an ECP-i.e., any person who is a retail customer-to enter into a swap unless the

  swap is entered into on or subject to the rules of, a board of trade designated as a contract market

  under section 5 (hereafter referred to as "registered exchange").

         5.      By offering binary options to retail customers, Defendants, who were not ECPs,

 entered off-exchange swaps transactions to retail customers who were also not ECPs, in violation

  of Section 2(e) of the Act, TU;S~C/§:~2(e) (2012).

  C.     lliegal Off-Exchange Commodity Options in Violation of Section 4c(b) of the Act
         and Regulation 32.2

         6.      Congress gave the Commission jurisdiction and plenary rulemaking authority

 over all commodity option transactions through Section 4c(b) of the Act, 1.· u.-RC.)f6c(b)

 (2012). Section 4c(b) of the Act and Commission Regulation 32.2, 17, C.F.R.§.32~-2 (2019) bans

  off-exchange trading of commodity option contracts and, specifically, makes it unlawful for any

  person to offer to enter into, enter into, or confirm the execution of, any transaction involving

  any commodity regulated under the Act which is of the character of, or is commonly known as,

  inter alia, an "option," "bid," "offer," "put," or "call," contrary to any rule, regulation, or order of

 the Commission prohibiting any such transaction or allowing any such transaction under such

 terms and conditions as the Commission shall prescribe.


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        7.      Regulation 32.2 makes it unlawful for any person to offer enter into, enter into,

 confirm the execution of, maintain a position in, or otherwise conduct activity related to any

 transaction in interstate commerce that is a commodity options transaction, unless such

 transaction is conducted in compliance with and subject to the provisions of the Act, including

 any Commission rule, regulation, or order thereunder, otherwise applicable to any swap.

        8.      The Defendants entered into, confirmed the execution of, maintained a position

 in, or otherwise conducted activity related to commodity options, other than on a registered

 exchange and without seeking registration as an exempt foreign exchange, and thereby violated

 Section 4c(b) of the Act,   tu~s~tfl'6c(b) (2012), and Regulation 32.2, 11.:c~RR\§_:,32}2 (2018).
 D.     Unregistered FCM Activities in Violation of Section 4d(a)(l) of the Act

        9.      Section la(28) of the Act, 7 u~s~c. §.la(28) defines, in part, a futures commission

 merchant ("FCM") as an individual, association, partnership, corporation, or trust that is engaged

 in soliciting and accepting orders for commodity options or swaps using the instrumentalities of

 interstate commerce. Section 4d(a)(l) of the Act, 7U.S.C ..§. 6d(~)(l), makes it unlawful for any

 person to act as an FCM unless such person is registered with the Commission.

        10.     Defendants Analytics and G. Thomas, who have never been registered in any

 capacity with the Commission, solicited or accepted orders for commodity options or swaps, and

 accepted money to margin, guarantee, or secure trades or contracts resulting from those

 commodity options or swaps without registration as an FCM, and thereby violated Section

 4d(a)(l) of the Act,   7,u_.s::cs. § 6d(a)(l) (2012).
 E.     Options Fraud in Violation of Section 4c(b) of the Act and Regulation 32.4

        11.     Regulation 32.4,     17 c~F~R~ § 32.4 (2019), promulgated under Section 4c(b) of the
 Act, provides that:



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         In or in connection with an offer to enter into, the entry into, or the confirmation of the

 execution of, any commodity option transaction, it shall be unlawful for any person, directly or

 indirectly:

         (a) To cheat or defraud or attempt to cheat or defraud any other person;

         (b) To make or cause to be made to any other person any false report or statement thereof

               or cause to be entered for any person any false record thereof; or

         (c) To deceive or attempt to deceive any other person by any means whatsoever.

         12.      The Defendants, in or in connection with an offer to enter into, the entry into, or

 the confirmation of the execution of, any commodity option transaction, using the

 instrumentalities of interstate commerce, directly and indirectly: (a) cheated or defrauded, and

 attempted to cheat and defraud, customers and prospective customers; (b) made or caused to be

 made to customers and prospective customers false reports or statements; and (c) deceived or

 attempted to deceive customers and prospective customers, in violation of Section 4c(b) of the

 Act and Regulation 32.4, l 7C.F~R. § 32.4 (2018).

 F.     Manipulative & Deceptive Devices in Connection with Swaps in Violation of Section
        6(c)(l) of the Act, 7.U.S.C. § 9(1), and Regulation 180.l(a), 17 C.F:R.,.§.JISOJ(a)

         13.      Section 6(c)(l) of the Act, 7 U.S.C..§ 9(1) (2012), makes it unlawful for any

 person, directly or indirectly, to use or employ, or attempt to use or employ, in connection with

 any swap, or a contract of sale of any commodity in interstate commerce ... any manipulative or

 deceptive device or contrivance, in contravention of such rules and regulations as the

 Commission shall promulgate.

         14.      Regulation 180. l(a), 17 C.F.R~ §-l80J(a) (2019), in turn, specifically provides

 that "it shall be unlawful for any person, directly or indirectly, in connection with any swap, or

 contract of sale of any commodity in interstate commerce . . . on or subject to the rules of any


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 registered entity, to intentionally or recklessly: (1) Use or employ, or attempt to use or employ,

 any manipulative device, scheme, or artifice to defraud; (2) Make, or attempt to make, any

 untrue or misleading statement of a material fact or to omit to state a material fact necessary in

 order to make the statements made not untrue or misleading; or (3) Engage, or attempt to engage,

 in any act, practice, or course of business, which operates or would operate as a fraud or deceit

 upon any person...."

          15.    The Defendants, intentionally or recklessly, using the instrumentalities of

 interstate commerce, directly and indirectly, in connection with swaps: (a) used or employed, or

 attempted to use or employ, manipulative devices, schemes, and artifices to defraud; (b) made, or

 attempted to make, untrue or misleading statements of material facts; (c) omitted to state material

 facts necessary in order to make statements made not untrue or misleading; and (d) engaged, or

 attempted to engage, in acts, practices, and courses of business, which operated or would operate

 as a fraud or deceit upon customers or prospective customers, in violation of Section 6(c)(1) of

 the Act, ~tu·.S~c'~:§9(1) (2012), and Regulation 180.l(a), 17C.F.R. §.180.l(a) (2019).

 G.       Kantor is Liable for the Violations of Blue Bit and Analytics and Mullins is Liable
          for the Violations of Mercury

          16.    Defendant Kantor controlled Blue Bit and Analytics, directly or indirectly, and did not

 act in good faith or knowingly induced, directly or indirectly, Blue Bit's and Analytics' act or acts in

 violation of the Act and Regulations; therefore, pursuant to Section 13(b) of the Act, 7U.S~Ct§:,.13c(b)

 (2012), Kantor is liable for Blue Bit's and Analytics' violations of1U.S.C. §§2(e), 6c{bj and 9(1) and

  17 C.F.R §§ 32.2, 32A and 180.1 and Kantor is also liable for Analytics' violations of 7..U.S.C. §

 6d(l).

          17.    Defendant Mullins controlled Mercury, directly or indirectly, and did not act in good

 faith or lmowingly induced, directly or indirectly, Mercury's act or acts in violation of the Act and

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 Regulations; therefore, pursuant to 7 U.S.C. § 13c(b), Mullins is liable for Mercury's violations of

 7.:tJ.S.((,:§§:2(e) and 6c(b) and 17-C.F.R §§ 32.2 and 32.4.

 H.      Blue Bit and Analytics are Liable for the Acts and Omissions of Kantor and Mercury
         Cove is Liable for the Acts and Omissions of Mullins

         18.     The acts, omissions, and failures of Defendant Kantor occurred within the scope of his

 employment, office, or agency with Blue Bit and Analytics; therefore, pursuant to Section 2(a){l)(B)

 of the Act, 7 U.S.CJ.' §:2(a)(l)(B) (2012), and Regulation 1.2, lTC.F.K:§j.2 (2018), Blue Bit and

 Analytics are liable for Kantor's acts, omissions, and failures in violation oftu:s~c~~§:f2(e), 6b(b)

 and 9(1) and :l7?C~F1l. §§:',32.2, 32.4 and rl80.l and Analytics is also liable for Kantor's violations of 7



         19.     The acts, omissions, and failures ofDefendant Mullins occurred within the scope of his

 employment, office, or agency with Mercury; therefore, pursuant 7U~S.C.i§'2(a)(:l)(B) and .1'.iC:F.ft

 '§:;L2, Mercury is liable for Mullins' acts, omissions, and failures in violation of7'1J.S.C~;§,f2(e), 6c(b)


 I.      The Defendants Operated as a Common Enterprise

         20.     Each member of the Blue Bit Enterprise participated in the unlawful acts and

 practices and is therefore jointly and severally liable for the violations of Section 2(e) of the Act

 committed by other members of the Blue Bit Enterprise.

 J.      An Injunction is Necessary

         21.     Unless restrained and enjoined by this Court, there is a reasonable likelihood that

 Defendants Kantor, Mullins, Blue Bit, Analytics, G. Thomas and Mercury will continue to

 engage in the acts and practices alleged in the Complaint and in similar acts and practices in

 violation of the Act and Regulations.




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 K.     Relief Defendant Blue Wolf Must Disgorge Ill-Gotten Funds

        22.     The Court may grant equitable relief against a relief defendant if it is established

 that the relief defendant possesses property or profits illegally obtained, and the relief defendant

 has no legitimate claim to them. See SEC v. Cavanagh, 155 R3d 129, '13.6 (2d Cir. 1998)

 ("Federal courts may order equitable relief against a person who is not accused of wrongdoing in

 a securities enforcement action where that person: (1) has received ill-gotten funds; and (2) does

 not have a legitimate claim to those funds"); CFTC v. Kimberlynn Creek Ranch, Inc.,      276 ·ltld
 '187,]92 n.4 (4th Cir. 2002) ("[I]t is entirely appropriate to allow the Commission to proceed

 against nominal defendants under the same circumstances in which the SEC could proceed

 against such defendants." (citing SEC v. Colello, 139 F.3d ·674, ·676 (9th Cir. 1998)). Relief

 Defendant Blue Wolf has failed establish its entitlement to more than $463,097.25 in deposits it

 received and is therefore required to disgorge that amount.

                                IV. PERMANENT INJUNCTION

        IT IS HEREBY ORDERED THAT:

        I.      Pursuant to Section 6c of the Act, 7 u~s.c. § 13a;.1 (2012), Defendants Kantor,

 Mullins, Blue Bit, Analytics, G. Thomas and Mercury are permanently restrained, enjoined and

 prohibited from directly or indirectly:

        a.      As a non-ECP, entering off-exchange swaps transactions by offering binary

                options to retail customers who are not ECPs, and thereby violating Section 2(e)

                of the Act, 7U.S~C~ f2(e) (2012);

        b.      Entering into, confirming the execution of, maintaining a position in, or otherwise

                conducting activity related to commodity options, other than on a registered

                exchange and without seeking registration as an exempt foreign exchange, and



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             thereby violating Section 4c(b) of the Act, 7 U.S.C.:§ 6c(b) (2012), and

             Regulation 32.2, fr7C.F.R §32;2 (2018);

       c.    Soliciting or accepting orders for commodity options or swaps, and accepting

             money to margin, guarantee, or secure trades or contracts resulting from those

             commodity options or swaps without registration as an FCM, thereby violating

             Section 4d(a)(l) of the Act, 7.U.S.C. §,6d(a)(l) (2012);

       d.    In or in connection with an offer to enter into, the entry into, or the confirmation

             of the execution of, any commodity option transaction, using the instrumentalities

             of interstate commerce, directly and indirectly: (a) cheating or defrauding, and

             attempting to cheat and defraud, customers and prospective customers;

             (b) making or causing to be made to customers and prospective customers false

             reports or statements; and (c) deceiving or attempting to deceive customers and

             prospective customers, thereby violating Section 4c(b) of the Act and Regulation

             32.4, 17CiF1l.:§>32A (2018);

       e.    Intentionally or recklessly, using the instrumentalities of interstate commerce,

             directly and indirectly, in connection with swaps: (a) using or employing, or

             attempting to use or employ, manipulative devices, schemes, and artifices to

             defraud; (b) making, or attempting to make, untrue or misleading statements of

             material facts; (c) omitting to state material facts necessary in order to make

             statements made not untrue or misleading; and (d) engaging, or attempting to

             engage, in acts, practices, and courses of business, which operate, or would

             operate, as a fraud or deceit upon customers or prospective customers, in violation




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                of Section 6(c)(l) of the Act, 7 U.S.C. § 9(1) (2012), and Regulation 180.l(a),

                17 C.F.R. lJ8(tl(a) (2019).

          2.    Defendants also permanently restrained, enjoined and prohibited from directly or

  indirectly:

          a.    Trading on or subject to the rules of any registered entity (as that term is defined

                in Section la(40) of the Act, 7 U.S~C~ § la(40) (2012));

          b.    Entering into any transactions involving "commodity interests" (as that term is

                defined in Regulation 1.3, i7 C.F~R. §.l.3 (2018)), for their own personal account

                or for any account in which they have a direct or indirect interest;

          c.    Having any commodity interests traded on their behalf;

          d.    Controlling or directing the trading for or on behalf of any other person or entity,

                whether by power of attorney or otherwise, in any account involving commodity

                interests;

          e.    Soliciting, receiving or accepting any funds from any person for the purpose of

                purchasing or selling any commodity interests;

          f.    Applying for registration or claiming exemption from registration with the

                Commission in any capacity, and engaging in any activity requiring such

                registration or exemption from registration with the Commission, except as

                provided for in Regulation 4.14(a)(9), 17 c~F.R.'·§ 4.14(a)(9) (2018); and/or

          g.    Acting as a principal (as that term is defined in Regulation 3. l(a), 17 C.F.R.

                § 3.l(a) (2018)), agent or any other officer or employee of any person (as that

                term is defined in 7U.'S.C. § la(38)), registered, exempted from registration or




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                  required to be registered with the Commission except as provided for in 17 C.F .R.

                  § 4.14(a)(9).

      V.        RESTITUTION, DISGORGEMENT, AND CIVIL MONETARY PENALTY

 A.        Restitution

           1.     Defendants Kantor, Mullins, Blue Bit, Analytics, G. Thomas and Mercury shall

 pay, jointly and severally, restitution in the amount of Eight-hundred and forty-six-thousand,

 four-hundred and five dollars and fifty-eight cents ($846,405.58) ("Restitution Obligation"). If

 the Restitution Obligation is not paid immediately, post-judgment interest shall accrue on the

 Restitution Obligation beginning on the date of entry of this Order and shall be determined by

 using the Treasury Bill rate prevailing on the date of entry of this Order pursuant to 28-tf.S.C~

 f196f (2012).     Kantor is a defendant in United States v. Blake Kantor, (E.D.N.Y., Cr. No. 18-

 177 (SJF) ("Criminal Action") and the Court there set the amount of Restitution owed by Kantor

 to the same customers at $846,405.58. Kantor is obliged to first make restitution payments

 pursuant to the Order in the Criminal Action. For amounts disbursed to Defendant Kantor's

 customers as a result of satisfaction of the restitution ordered in the Criminal Action, the

 Defendants shall receive a dollar-for-dollar credit against the Restitution Obligation. Within ten

 days of disbursement in the Criminal Action to Defendant's customers, Defendant shall, under a

 cover letter that identifies the name and docket number of this proceeding, transmit to the Chief

 Financial Officer, Commodity Futures Trading Commission, Three Lafayette Centre, 1155 21st

 Street, NW, Washington, D.C. 20581, and the Office of Administration, National Futures

 Association, 300 South Riverside Plaza, Suite 1800, Chicago, Illinois 60606, copies of the form

 of payment to those customers.

           2.     To effect payment of the Restitution Obligation and the distribution of any

 restitution payments to Defendants' customers, the Court appoints the National Futures

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 Association ("NFA") as Monitor ("Monitor"). The Monitor shall receive restitution payments

 from Defendants and make distributions as set forth below. Because the Monitor is acting as an

 officer of this Court in performing these services, the NFA shall not be liable for any action or

 inaction arising from NFA's appointment as Monitor, other than actions involving fraud.

         3.      Defendants shall make Restitution Obligation payments, and any post-judgment

 interest payments, under this Order to the Monitor in the name "Blue Bit Restitution Fund" and

 shall send such payments by electronic funds transfer, or by U.S. postal money order, certified

 check, bank cashier's check, or bank money order, to the Office of Administration, National

 Futures Association, 300 South Riverside Plaza, Suite 1800, Chicago, Illinois 60606 under cover

 letter that identifies the paying Defendant and the name and docket number of this proceeding.

 Defendants shall simultaneously transmit copies of the cover letter and the form of payment to

 the Chief Financial Officer, Commodity Futures Trading Commission, Three Lafayette Centre,

 1155 21st Street, NW, Washington, D.C. 20581.

         4.      The Monitor shall oversee the Restitution Obligation and shall have the discretion

 to determine the manner of distribution of such funds in an equitable fashion to Defendants'

 customers identified by the Commission or may defer distribution until such time as the Monitor

 deems appropriate. In the event that the amount of Restitution Obligation payments to the

 Monitor are of a de minimis nature such that the Monitor determines that the administrative cost

 of making a distribution to eligible customers is impractical, the Monitor may, in its discretion,

 treat such restitution payments as civil monetary penalty payments, which the Monitor shall

 forward to the Commission following the instructions for civil monetary penalty payments set

 forth in Part III. C. below.




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         5.     Defendants shall cooperate with the Monitor as appropriate to provide such

  information as the Monitor deems necessary and appropriate to identify Defendants' customers

 to whom the Monitor, in its sole discretion, may determine to include in any plan for distribution

 of any Restitution Obligation payments. Defendants shall execute any documents necessary to

 release funds that they have in any repository, bank, investment or other financial institution,

 wherever located, in order to make partial or total payment toward the Restitution Obligation.

         6.     The Monitor shall provide the Commission at the beginning of each calendar year

 with a report detailing the disbursement of funds to Defendants' customers during the previous

 year. The Monitor shall transmit this report under a cover letter that identifies the name and

 docket number of this proceeding to the Chief Financial Officer, Commodity Futures Trading

 Commission, Three Lafayette Centre, 1155 21st Street, NW, Washington, D.C. 20581.

        7.      The amounts payable to each customer shall not limit the ability of any customer

 from proving that a greater amount is owed from Defendants or any other person or entity, and

 nothing herein shall be construed in any way to limit or abridge the rights of any customer that

 exist under state or common law.

         8.     Pursuant to Rule 71 of the Federal Rules of Civil Procedure, each customer of

 Defendants who suffered a loss is explicitly made an intended third-party beneficiary of this

 Order and may seek to enforce obedience of this Order to obtain satisfaction of any portion of

 the restitution that has not been paid by Defendants to ensure continued compliance with any

 provision of this Order and to hold Defendants in contempt for any violations of any provision of

 this Order.




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        9.      To the extent that any funds accrue to the U.S. Treasury for satisfaction of

 Defendants' Restitution Obligation, such funds shall be transferred to the Monitor for

 disbursement in accordance with the procedures set forth above.

 B.     Disgorgement

         10.    Defendant Kantor shall pay disgorgement in the amount of Five-hundred and

 fifteen thousand, seven-hundred and fifty-nine dollars and eighty-five cents ($515,759.85)

 ("Kantor Disgorgement Obligation"); representing the gains he received in connection with his

 violations of the law. Kantor shares a portion of this Disgorgement Obligation, jointly and

 severally, with Relief Defendant Blue Wolf, specifically $463,097.25.     If the Kantor

 Disgorgement Obligation is not paid immediately, then post-judgment interest shall accrue on

 the Kantor Disgorgement Obligation beginning on the date of entry of this Order and shall be

 determined by using the Treasury Bill rate prevailing on the date of entry of this Order pursuant

 to 281LS~.C/.§.:t-961 (2012).

        11.     Defendant Mullins shall pay disgorgement in the amount of Eighty-nine thousand,

 five-hundred and seventy-four dollars and forty-three cents ($89,574.43) (Mullins'

 Disgorgement Obligation), representing the gains he received in connection with his violations

 of the law. If the Mullins Disgorgement Obligation is not paid immediately, then post-judgment

 interest shall accrue on the Mullins Disgorgement Obligation beginning on the date of entry of

 this Order and shall be determined by using the Treasury Bill rate prevailing on the date of entry

 of this Order pursuant to 28U.S~C~:§ J96i (2012).

         12.    Relief Defendant, Blue Wolf, shall pay disgorgement in the amount ofFour-

 hundred sixty-three thousand and ninety-seven dollars and twenty-five cents ($463,097.25) (Blue

 WolfDisgorgement Obligation), representing the gains it received and to which it has no

 legitimate entitlement. Blue Wolf shares its Disgorgement Obligation, jointly and severally,

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  with Defendant Kantor. If the Blue WolfDisgorgement Obligation is not paid immediately,

  then post-judgment interest shall accrue on the Blue Wolf Disgorgement Obligation beginning

  on the date of entry of this Order and shall be determined by using the Treasury Bill rate

  prevailing on the date of entry of this Order pursuant to 28.U.SlC~ ll961 (2012).

         13.     Defendants shall pay their respective Disgorgement Obligations and any post-

 judgment interest by electronic funds transfer, U.S. postal money order, certified check, bank

  cashier's check, or bank money order. If payment is to be made other than by electronic funds

  transfer, then the payment shall be made payable to the Commodity Futures Trading

  Commission and sent to the address below:

                 MMAC/ESC/AMK326
                 Commodity Futures Trading Commission
                 Division of Enforcement
                 6500 S. MacArthur Blvd.
                 HQ Room 181
                 Oklahoma City, OK 73169
                 (405) 954-6569 office
                 (405) 954-1620 fax
                 9-AMC-AR-CFTC@faa.gov

  If payment by electronic funds transfer is chosen, Defendants shall contact Marie Thome or her

 successor at the address above to receive payment instructions and shall fully comply with those

  instructions. Defendants shall accompany payment of the Disgorgement Obligation with a cover

  letter that identifies Defendant and the name and docket number of this proceeding. Defendants

  shall simultaneously transmit copies of the cover letter and the form of payment to the Chief

  Financial Officer, Commodity Futures Trading Commission, Three Lafayette Centre, 1155 21st

  Street, NW, Washington, D.C. 20581.

  C.     Civil Monetary Penalty

         14.     Defendants Kantor, Blue Bit, Analytics, G. Thomas and Mercury, shall pay,

 jointly and severally, a civil monetary penalty in the amount of Two Million Five-Hundred

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 Thousand Dollars ($2,500,000) ("CMP Obligation"). If the CMP Obligation is not paid

  immediately, then post-judgment interest shall accrue on the CMP Obligation beginning on the

  date of entry of this Order and shall be determined by using the Treasury Bill rate prevailing on

 the date of entry of this Order pursuant to 28U:S;C/§.:l961 (2012).

           15.   Defendant Mullins shall pay a civil monetary penalty in the amount of Three

 Hundred Thousand Dollars ($300,000) (Mullins' CMP Obligation"). If the Mullins' CMP

 Obligation is not paid immediately, then post-judgment interest shall accrue on the Mullins'

 CMP Obligation beginning on the date of entry of this Order and shall be determined by using

 the Treasury Bill rate prevailing on the date of entry of this Order pursuant to 28·:UiS~c~Jl9.6t

 (2012).

           16.   Defendants shall pay the CMP Obligation or the Mullins' CMP Obligation and

 any post-judgment interest, by electronic funds transfer, U.S. postal money order, certified

 check, bank cashier's check, or bank money order. If payment is to be made other than by

 electronic funds transfer, then the payment shall be made payable to the Commodity Futures

 Trading Commission and sent to the address below:

                 MMAC/ESC/AMK326
                 Commodity Futures Trading Commission
                 Division of Enforcement
                 6500 S. MacArthur Blvd.
                 HQ Room 181
                 Oklahoma City, OK 73169
                 (405) 954-6569 office
                 (405) 954-1620 fax
                 9-AMC-AR-CFTC@faa.gov

 If payment by electronic funds transfer is chosen, Defendants shall contact Marie Thome or her

 successor at the address above to receive payment instructions and shall fully comply with those

 instructions. Defendants shall accompany payment of the CMP Obligation or Mullins' CMP



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 Obligation with a cover letter that identifies Defendant and the name and docket number of this

 proceeding. Defendants shall simultaneously transmit copies of the cover letter and the form of

 payment to the Chief Financial Officer, Commodity Futures Trading Commission, Three

 Lafayette Centre, 1155 21st Street, NW, Washington, D.C. 20581.

                              VI. MISCELLANEOUS PROVISIONS

 A.     Provisions Related to Monetary Sanctions

         1.     Partial Satisfaction: Acceptance by the Commission/CFTC or the Monitor of any

 partial payment of Defendants' Restitution Obligation, Disgorgement Obligation, CMP

 Obligation or Mullins' CMP Obligation shall not be deemed a waiver their obligation to make

 further payments pursuant to this Order, or a waiver of the Commission/CFTC's right to seek to

 compel payment of any remaining balance.

        2.      Asset Freeze: On April 17, 2018, the Court entered, and on May 2, 2018, the

 Court extended, an asset freeze order prohibiting the transfer, removal, dissipation and disposal

 of Defendants' and Relief Defendant's assets ("Asset Freeze Order"). The court hereby lifts the

 Asset Freeze Order.

        3.      Notice: All notices required to be given by any provision in this Order shall be

 sent certified mail, return receipt requested, as follows:

 Notice to Commission:

 Scott R. Williamson
 Acting Deputy Director of Enforcement
 CFTC Chicago Regional Office
 525 W Monroe Street, Suite 1100
 Chicago, IL 60661




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 Notice to Defendants:
                                                      Blue Bit Banc
 Blake Kantor                                         c/o Blake Kantor
 2200 N. Central Road                                 2200 N. Central Road
 Apt. 8F                                              Apt. SF
 Fort Lee, NJ 07024                                   Fort Lee, NJ 07024

 Blue Bit Analytics, Ltd.                             Blue Wolf Sales Consultants
 c/o Blake Kantor                                     c/o Blake Kantor
 2200 N. Central Road                                 2200 N. Central Road
 Apt. 8F                                              Apt. SF
 Fort Lee, NJ 07024                                   Fort Lee, NJ 07024

                                                      Mercury Cove, Inc.
 Nathan Mullins                                       c/o Nathan Mullins
 c/o Scott Druker, Esq.                               30-59 47'h Street
 1325 Franklin Avenue, Suite 225                      Rear Unit
 Garden City, New York 11530                          Astoria, NY 11103

 G. Thomas Client Services (c/o Glenn Olson)
 c/o Attorney Michael Nedick, Esq.
 888 Grand Concourse
 Bronx, NY 10451

 Notice to NFA:

 Daniel Driscoll, Executive Vice President, COO
 National Futures Association
 300 S. Riverside Plaza, Suite 1800
 Chicago, IL 60606-3447

 All such notices to the Commission or the NFA shall reference the name and docket number of

 this action.

         4.     Change of Address/Phone: Until such time as Defendants and Relief Defendant

 satisfy in full their Restitution Obligation, Disgorgement Obligation, and CMP Obligation as set

 forth in this Order, Defendants and Relief Defendant shall provide written notice to the

 Commission by certified mail of any change to his telephone number and mailing address within

 ten calendar days of the change.



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               5.     Invalidation: If any provision of this Order or if the application of any provision

       or circumstance is held invalid, then the remainder of this Order and the application of the

        provision to any other person or circumstance shall not be affected by the holding.

~              6.      Continuing Jurisdiction of this Court:                                               this

~action to ensure compliance wit                     r and for all other purposes related to this action,

                      motion by Defendants or Relief Defendant to modify or for relief from the terms



               7.      Injunctive and Equitable Relief Provisions: The injunctive and equitable relief

        provisions of this Order shall be binding upon Defendants and Relief Defendants, upon any

        person under the authority or control of any of the Defendants or Relief Defendant, and upon any

        person who receives actual notice of this Order, by personal service, e-mail, facsimile or otherwise

        insofar as he or she is acting in active concert or participation with Defendants or Relief

        Defendant.

               There being no just reason for delay, the Clerk of the Court is hereby ordered to enter this

        Order for Final Judgment by Default, Permanent Injunction, Civil Monetary Penalties and Other

        Statutory and Equitable Reliefforthwith and without further noti""J          e1nd -lo   C   1-. -ffi,~     c Q.d~   ,   ~
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                                                 c......
            IT IS SO ORDERED on this 23-day of_O...                  :l_o__b=c,;..a.C_ _ __.., 2019.
                                                                 0               J
                                                                 s/ Sandra J. Feuerstein
                                                        ;                (I
                                                       The Honorable Sandra J. Feuerstein
                                                       UNITED STATES DISTRICT JUDGE




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